











Opinion issued April 14, 2005











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01-05-00003-CV
&nbsp;&nbsp;____________

IN RE BETTY STOVALL (KIT) CLARK, Relator




Original Proceeding on Petition for Writ of Habeas Corpus




MEMORANDUM OPINIONRelator, Betty Stovall (Kit) Clark, filed a petition for writ of habeas corpus
complaining that Judge Sullivan erred by assessing $2500 in fines and eight hours of
ethics continuing legal education in sanctions resulting from Clark’s discovery abuse
and professional misconduct.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Holding that Clark has an adequate remedy by appeal, we deny the petition for
writ of habeas corpus.  See Velez v. DeLara, 905 S.W.2d 23, 26 (Tex. App.—San
Antonio 1953, no writ).
PER CURIAM
Panel consists of Justices Taft, Keyes, and Hanks.


